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                 IN THE UNITED STATES DISTRICT COURT
                   MIDDLE DISTRICT OF PENNSYLVANIA

TAMMY J. KITZMILLER, et al.       )
                                  )
     Plaintiffs,                  )
                                  )
            v.                    )    Civil Action No. 4:04-CV-2688
                                  )
DOVER AREA SCHOOL,                )    Hon. John E. Jones, III
DISTRICT and DOVER AREA           )
SCHOOL DISTRICT BOARD OF          )
DIRECTORS,                        )
                                  )
     Defendants.                  )


                                ORDER

AND NOW, this ________day of December, 2005, upon consideration
of the Motion of Amici Discovery Institute and Foundation for Thought
and Ethics for Leave to File Reply to Plaintiffs' Response to Amicus
Briefs, it is hereby ORDERED that the motion is GRANTED.

                                       BY THE COURT:


                                       ______________________
                                       JOHN E. JONES, J.
